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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF NEBRASKA

                                                                        )
In re:                                                                  ) Chapter 11
                                                                        )
SPECIALTY RETAIL SHOPS HOLDING CORP., et al.,1                          ) Case No. 19-80064-TLS
                                                                        )
                          Debtors.                                      ) (Jointly Administered)
                                                                        )

                    ORDER (I) AUTHORIZING THE TRANSACTIONS
                 OF CERTAIN PHARMACY ASSETS FREE AND CLEAR
               OF ALL INTERESTS AND (II) GRANTING RELATED RELIEF
                                                                       2
         Upon consideration of the motion (the “Motion”) of the above captioned debtors and

debtors in possession (the “Debtors”) for the entry of an order (this “Order”): (a) authorizing the

sale(s), liquidation(s), or other disposition(s) (the “Transaction(s)”) of the Debtors’ Pharmacy

Inventory, Pharmacy Files, and/or the Acquired Assets (as defined in the Bidder APA), (the

“Pharmacy Assets”) located at, and for customers serviced from, such prescription pharmacies (the

“Pharmacies”), lists of which are attached hereto as Exhibit A (the “Purchase Schedule”), free and

clear of liens, claims, interests, and encumbrances (collectively, the “Interests”) with any such

Interests to attach to the proceeds thereof with the same validity and priority (under the Bankruptcy




1   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, are: Specialty Retail Shops Holding Corp. (0029); Pamida Stores Operating Co., LLC (6157); Pamida
    Transportation, LLC (4219); Penn-Daniels, LLC (0040); Place’s Associates’ Expansion, LLC (7526); Retained
    R/E SPE, LLC (6679); Shopko Finance, LLC (1152); Shopko Gift Card Co., LLC (2161); ShopKo Holding
    Company, LLC (0171); ShopKo Institutional Care Services Co., LLC (7112); ShopKo Optical Manufacturing,
    LLC (6346); ShopKo Properties, LLC (0865); ShopKo Stores Operating Co., LLC (6109); SVS Trucking, LLC
    (0592). The location of the Debtors’ service address is: 700 Pilgrim Way, Green Bay, Wisconsin 54304.

2   Capitalized terms used herein and not otherwise defined shall have the meaning ascribed to them in the Debtors’
    Motion for Entry of Orders (I) Establishing Bidding Procedures for the Pharmacy Assets, (II) Approving the
    Transactions, and (III) Granting Related Relief [Docket No. 27] or the Order (I) Establishing Bidding Procedures
    for the Pharmacy Assets and (II) Granting Related Relief [Docket No. 77] (the “Bidding Procedures Order”), and
    the bidding procedures attached thereto (the “Bidding Procedures”), as applicable.
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Code) as such Interests had immediately prior to the consummation of the Transactions; and (b)

granting related relief, all as more fully described in the Motion; and the Court having found that

it has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334; and the Court having

found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and the Court having found

that venue of this proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§

1408 and 1409; and the Court having found that the Debtors provided due and proper notice that

is adequate and appropriate under the particular circumstances; and the Court having held a hearing

to consider the relief requested in the Motion and any objections or other responses to the relief

requested therein (the “Hearing”) at which time all interested parties were offered an opportunity

to be heard with respect to the Motion; and upon consideration of the record of the Hearing, and

all proceedings had before the Court, the arguments of counsel made, and the evidence proffered

and adduced, at the Hearing; and it appearing that due notice of the Motion and the form of this

Order has been provided; and the Court having found and determined that the relief sought in the

Motion is in the best interests of the Debtors’ estates, their creditors, and other parties in interest,

and that the legal and factual bases set forth in the Motion and at the Hearing establish just cause

for the relief granted herein; and upon all of the proceedings had before the Court; and any

objections or other responses to the relief requested herein having been withdrawn, resolved, or

overruled on the merits; and after due deliberation and sufficient cause appearing therefor, it is

HEREBY FOUND THAT:

               A.      The findings and conclusions set forth herein constitute the Court’s findings

of fact and conclusions of law pursuant to Bankruptcy Rule 7052 made applicable to this

proceeding pursuant to Bankruptcy Rule 9014. To the extent any of the following findings of fact




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constitute conclusions of law, they are adopted as such. To the extent any of the following

conclusions of law constitute findings of fact, they are adopted as such.

                 B.       The statutory and other legal predicates for the relief sought in the Motion

are sections 105(a), 363 and 365 of the Bankruptcy Code, Bankruptcy Rules 2002, 6004,

and 6006, and Local Rule 6004-1.

                 C.       A fair and reasonable opportunity to object to and to be heard with respect

to the Motion, the Transactions, and the relief requested in the Motion has been given, as required

by the Bankruptcy Code and the Bankruptcy Rules, to all Persons3 entitled to notice, including the

following: (a) all parties who have requested notice in these chapter 11 cases pursuant to

Bankruptcy Rule 2002 and (b) all entities known or reasonably believed to have asserted a lien,

encumbrance, claim, or other interest in any of the Pharmacy Assets.

                 D.       The Debtors have demonstrated good, sufficient, and sound business

purposes and justifications for this Court to grant the relief requested in the Motion, specifically,

without limitation, the Transactions of the Pharmacy Assets as set forth in and pursuant to the

purchase agreements listed on Exhibit A attached hereto (the “Bidder APAs”) by and entered into

with the Successful Bidders and entry into the Bidder APAs. The Debtors’ entry into and

performance under the Bidder APAs: (a) constitutes a sound and reasonable exercise of the

Debtors’ business judgment and are in the best interests of the Debtors, their estates, their creditors,

and all other parties in interest; (b) provides value to and are beneficial to the Debtors’ estates, and

are in the best interests of the Debtors and their stakeholders; and (c) is reasonable and appropriate


3   “Person” means an individual, a partnership, a corporation, a limited liability company, an association, a joint
    stock company, a trust, a joint venture, an unincorporated organization, or any other entity, including any
    governmental authority (meaning any federal, state, local, or foreign government or governmental or regulatory
    authority, agency, board, bureau, commission, court, department, or other governmental entity) or any group of
    any of the foregoing.




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under the circumstances. Business justifications for the Transactions include the following: (a) the

Bidder APAs constitute the highest and best offer received for the Pharmacy Assets; (b) the Bidder

APAs present the best opportunity to maximize the value of the Pharmacy Assets; (c) unless the

Transactions and all of the other transactions contemplated by the Bidder APAs are concluded

expeditiously, as provided for pursuant to the Bidder APAs, recoveries to creditors may be

materially diminished; and (d) the value of the Debtors’ estates will be maximized through sale(s),

liquidation(s), or other disposition(s) of the Pharmacy Assets pursuant to the Bidder APAs.

                 E.     This Order constitutes a final order within the meaning of 28 U.S.C. §

158(a). To the extent any inconsistency arises between this Order and the Bidder APAs, this Order

shall control.

                 F.     The Debtors and their advisors (i) engaged in a robust and extensive

marketing and sale process, and (ii) conducted a fair and open sale process. The sale process and

the Bidding Procedures were non-collusive, duly noticed, pursued diligently and in good faith, and

provided a full, fair, and reasonable opportunity for any entity to make an offer to purchase the

Pharmacy Assets. The total consideration provided by each Successful Bidder, upon the terms

and conditions set forth in the applicable Bidder APAs (including the form and total consideration

to be realized by the Debtors pursuant to the Bidder APAs), is the highest and best offer received

by the Debtors and constitutes fair value, fair, full, and adequate consideration, reasonably

equivalent value and reasonable market value for the respective Pharmacy Assets for purposes of

the Bankruptcy Code, the Uniform Fraudulent Transfer Act, the Uniform Fraudulent Conveyance

Act, and the other laws of the United States, any state, territory, or possession thereof, or the

District of Columbia.




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                 G.       Under the facts and circumstances of these chapter 11 cases, the purchase

prices for the Pharmacy Assets are fair and reasonable.

                 H.       The Bidder APAs were proposed, negotiated, and entered into based upon

arm’s length bargaining, without collusion or fraud, and in good faith as that term is used in

sections 363(m) and 364(e) of the Bankruptcy Code.

                 I.       The Successful Bidders are purchasers in good faith with respect to the

Pharmacy Assets, as that term is used in sections 363(m) and 364(e) of the Bankruptcy Code and,

as such, are entitled to all the protections afforded thereby. The Debtors were free to deal with

any other party interested in buying or selling some or all of the Pharmacy Assets on behalf of the

Debtors’ estates. The Bidder APAs and each of the transactions contemplated therein were

negotiated, proposed, and entered into by the Debtors and the Successful Bidders in good faith,

without collusion and from arm’s-length bargaining positions.

                 J.       The Successful Bidders are not, and will not be, mere continuations of, or

successors to, and are not holding themselves out as mere continuations of, or successors to, the

Debtors in any respect, and there is no continuity of enterprise between the Debtors or the

Successful Bidders. The Transactions do not amount to a consolidation, merger, or de facto merger

of the Successful Bidders and the Debtors. No Successful Bidder or any of their Affiliates4 and

their respective successors, assigns, members, partners, principals, and shareholders (or

equivalent) shall assume or in any way be responsible for any obligation or liability of any Debtor




4   “Affiliate” means, with respect to any specified Person, any other Person that directly, or indirectly through one
    or more intermediaries, controls, is controlled by, or is under common control with, such specified Person, where
    “control” means the power, directly or indirectly, to direct or cause the direction of the management and policies
    of another Person, whether through the ownership of voting securities, by contract, or otherwise.




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(or any Affiliates thereof) and/or any Debtor’s estate, including any obligation under any labor

practice agreement, except as expressly provided in the Bidder APAs or herein.

               K.      The Transactions neither impermissibly restructure the rights of the

Debtors’ creditors nor impermissibly dictate the terms of a liquidating plan of reorganization of

the Debtors. The Transactions do not constitute a sub rosa plan.

               L.      All the requirements of sections 363 of the Bankruptcy Code have been met

with respect to the sales of the Pharmacy Assets.

               M.      The Debtors may sell the Pharmacy Assets free and clear of all Interests,

including all liens (including, to the extent permitted under the Bankruptcy Code, those related to

the so-called “bulk sales,” “bulk transfer” and similar laws), claims (including those that constitute

a “claim” as defined in section 101(5) of the Bankruptcy Code), rights (including reclamation

rights, rights of first refusal, rights of first offer, or consent rights), liabilities, judgments,

servitudes,   encumbrances,     options,   purchase    options,   mortgages,    subleases,    charges,

hypothecations, indentures, security interests, security agreements, loan agreements, instruments,

conditional sale or other title retention agreements, pledges, demands, offsets, recoupment, rights

of recovery, decrees of any court or foreign or domestic governmental entity, and other interests

of any kind or nature whatsoever against the Debtors or the Pharmacy Assets, whether arising prior

to or subsequent to the commencement of these chapter 11 cases, whether known or unknown,

choate or inchoate, filed or unfiled, scheduled or unscheduled, noticed or unnoticed, recorded or

unrecorded, perfected or unperfected, allowed or disallowed, contingent or non-contingent,

liquidated or unliquidated, matured or unmatured, material or non-material, disputed or

undisputed, and whether imposed by agreement, understanding, law, equity, or otherwise arising

under or out of, in connection with, or in any way related to the Debtors, the Debtors’ interests in




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the Pharmacy Assets, the operation of the Debtors’ businesses before the Closing (throughout this

Order, as defined in the applicable Bidder APA), or the transfer of the Debtors’ interests in the

Pharmacy Assets to the Successful Bidders, because, in each case, one or more of the standards

set forth in section 363(f)(1)-(5) of the Bankruptcy Code have been satisfied. Without limiting the

generality of the foregoing, “Interests” shall include any and all liabilities or obligations

whatsoever arising under or out of, in connection with, or in any way relating to: (a) any of the

employee benefit plans, including any Interests related to unpaid contributions or current or

potential withdrawal or termination liability; (b) the Worker Adjustment and Retraining

Notification Act of 1988; or (c) any of the Debtors’ current and former employees. For the

avoidance of doubt, the interests identified on Exhibit B attached hereto constitute Interests and

the Pharmacy Assets may be sold free and clear of such Interests.

                N.      The total consideration provided by each Successful Bidder, upon the terms

and conditions set forth in the applicable Bidder APA (including the form and total consideration

to be realized by the Debtors pursuant to the Bidder APAs), reflects each Successful Bidder’s

reliance on this Order to provide it, pursuant to sections 105(a) and 363(f) of the Bankruptcy Code,

with title to and possession of the Pharmacy Assets free and clear of all Interests (including any

potential derivative, vicarious, transferee, or successor liability claims).

                O.      As of the Closing, the transfer of the Pharmacy Assets to the Successful

Bidders will be a legal, valid, and effective transfer of the Pharmacy Assets, and will vest the

Successful Bidders with all right, title, and interest of the Debtors in, and to, the Pharmacy Assets,

free and clear of all Interests.

                P.      The Debtors (a) have full corporate or limited liability company (as

applicable) power and authority to execute the Bidder APAs and all other documents contemplated




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thereby, and the Transactions have been duly and validly authorized by all necessary corporate

action of the Debtors, (b) have all of the corporate or limited liability company (as applicable)

power and authority necessary to consummate the transactions contemplated by the Bidder APAs,

and (c) upon entry of this Order, other than any consents identified in the Bidder APAs (including

with respect to antitrust matters), need no consent or approval from any other Person to

consummate the Transactions.

               Q.      The Transactions of the Pharmacy Assets must be approved and

consummated promptly in order to preserve the value of the Pharmacy Assets. Therefore, time is

of the essence in consummating the Transactions, and the Debtors and Successful Bidders intend

to close the Transactions as soon as reasonably practicable. The Debtors have demonstrated

compelling circumstances and a good, sufficient, and sound business purpose and justification for

the immediate approval and consummation of the Transactions as contemplated by the Bidder

APAs.    Accordingly, there is sufficient cause to lift the stay contemplated by Bankruptcy

Rules 6004(h) and 6006(d) with regards to the transactions contemplated by this Order.

               R.      The legal and factual bases set forth in the Motion and at the Hearing

establish just cause for the relief granted herein.

               NOW THEREFORE, IT IS ORDERED THAT:

               1.      The Motion is granted as set forth herein.

               2.      Any responses or objections to, unless otherwise adjourned, or reservations

of rights regarding, the entry of this Order or the relief granted herein or requested in the Motion

that have not been withdrawn, waived, or settled, or not otherwise resolved pursuant to the terms

hereof, if any, hereby are denied and overruled on the merits with prejudice. All holders of

Interests or other persons and entities that failed to timely object, or withdrew their objections, to




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the Motion or this Order are deemed to consent to the relief granted herein for all purposes,

including pursuant to sections 363(f)(2) of the Bankruptcy Code.

               3.      Each holder of any Interest against the Debtors, their estates, or any of the

Pharmacy Assets: (a) has, subject to the terms and conditions of this Order, consented to the

Transactions or is deemed to have consented to the Transactions; (b) could be compelled, in a legal

or equitable proceeding, to accept money satisfaction of such Interest; or (c) otherwise falls within

the provisions of section 363(f) of the Bankruptcy Code.

               4.      Notice of the Hearing was fair and equitable under the circumstances and

complied in all respects with section 102(1) of the Bankruptcy Code and Bankruptcy Rules 2002,

6004, and 6006.

               5.      The Bidder APAs and the ancillary documents thereto and the

consummation thereof, and the Transactions themselves shall not be avoided under section 363(n)

or chapter 5 of the Bankruptcy Code. The consideration provided by each Successful Bidder under

the applicable Bidder APA is fair and reasonable. Neither the Debtors nor the Successful Bidders

have engaged in any conduct that would cause or permit any of the Bidder APAs to be avoided or

costs and damages to be imposed under section 363(n) of the Bankruptcy Code.

               6.      All of the Bidder APAs listed on Exhibit A attached hereto, any schedules

or exhibits thereto, and all transactions contemplated therein, and all of the terms and conditions

thereof are hereby approved and are incorporated herein by reference, and the Debtors are

authorized to take any and all actions necessary or appropriate to consummate the Bidder APAs.

The failure specifically to include any particular provision of a Bidder APA in this Order shall not

diminish or impair the effectiveness of such provision, it being the intent of the Court that each

Bidder APA, be authorized and approved in its entirety.




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               7.      Pursuant to sections 105, 363, and 365 of the Bankruptcy Code, the

Debtors, as well as their officers, employees and agents, are authorized to execute, deliver and

perform their obligations under and comply with the terms of the Bidder APAs and to consummate

the Transactions, pursuant to, and in accordance with, the terms and conditions of the Bidder APAs

and this Order. The provisions of this Order shall be self-executing, and neither the Debtors nor

the Successful Bidders shall be required to execute or file releases, termination statements,

assignments, consents, or other instruments to effectuate, consummate, and implement the

provisions of this Order.

               8.      The Debtors, their Affiliates and their respective officers, employees and

agents, are authorized to execute and deliver, and authorized to perform under, consummate and

implement all additional instruments and documents that may be reasonably necessary or desirable

to implement the Bidder APAs and to take all further actions as may be: (a) reasonably requested

by the Successful Bidders for the purpose of assigning, transferring, granting, conveying, and

conferring to a Successful Bidder, or reducing to possession, the applicable Pharmacy Assets; or

(b) necessary or appropriate to the performance of the obligations contemplated by the applicable

Bidder APA, all without further order of the Court.

               9.      All Persons that are currently, or are on or after the Closing, in possession

of some or all of the applicable Pharmacy Assets are hereby directed to surrender possession of

such Pharmacy Assets to the applicable Successful Bidder as of the Closing or at such time as a

Successful Bidder requests.

               10.     Each and every federal, state, local, or foreign government or governmental

or regulatory authority, agency, board, bureau, commission, court, department, or other

governmental entity is hereby directed to accept this Order and any and all other documents and




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instruments necessary and appropriate to consummate the transactions contemplated by the Bidder

APAs.

               11.     Pursuant to sections 105(a), 363(b), 363(f), and 365 of the Bankruptcy

Code, the Debtors are authorized to transfer the Pharmacy Assets in accordance with the terms of

the Bidder APAs. The Pharmacy Assets shall be transferred to the Successful Bidders (or their

Affiliates), and upon the Closing, such transfers shall: (a) be valid, legal, binding, and effective,

(b) vest the Successful Bidders with all right, title, and interest of the Debtors (who are presently

the sole and rightful owners of the Pharmacy Assets) in the Pharmacy Assets, and (c) be free and

clear of all Interests (including, for the avoidance of doubt, the Interests identified on Exhibit B)

in accordance with section 363(f) of the Bankruptcy Code, with all Interests that represent interests

in property to attach to the net proceeds of the Transactions, in the same amount and order of their

priority, with the same validity, force, and effect which they have against the Pharmacy Assets,

and subject to any claims and defenses the Debtors may possess with respect thereto, in each case

immediately before the Closing.

               12.     Except as otherwise provided in the applicable Bidder APA, all Persons

(and their respective successors and assigns) including all debtholders, equityholders,

governmental, tax and regulatory authorities, lenders, employees, former employees, pension

plans, multiemployer pension plans, labor unions, trade creditors, and any other creditors holding

Interests against the Debtors or the Pharmacy Assets, are hereby forever barred, estopped and

permanently enjoined from asserting or pursuing such Interests against the Successful Bidders,

their Affiliates, successors or assigns, their property or the Pharmacy Assets.

               13.     This Order (a) shall be effective as a determination that, as of the Closing,

all Interests (including, for the avoidance of doubt, the Interests identified on Exhibit B) have been




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unconditionally released, discharged, and terminated as to the Successful Bidders and the

Pharmacy Assets, and that the conveyances and transfers described herein have been effected, and

(b) is and shall be binding upon and govern the acts of all Persons, including all filing agents, filing

officers, title agents, title companies, recorders of mortgages, recorders of deeds, registrars of

deeds, administrative agencies, governmental departments, secretaries of state, federal and local

officials and all other Persons who may be required by operation of law, the duties of their office,

or contract, to accept, file, register or otherwise record or release any documents or instruments,

or who may be required to report or insure any title or state of title in or to any asset; and each of

the foregoing Persons is hereby directed to accept for filing any and all of the documents and

instruments necessary and appropriate to consummate the transactions contemplated by the

applicable Bidder APA.

               14.     Following the Closing, no holder of any Interest shall interfere with each

Successful Bidder’s title to or use and enjoyment of the Pharmacy Assets based on or related to

any such Interest or based on any actions the Debtors may take in these chapter 11 cases.

               15.     The Debtors are hereby authorized to take all actions necessary to

implement and effectuate the terms of this Order and the relief granted pursuant to this Order, the

Transactions, and the Bidder APAs.

               16.     This Order shall constitute the findings of fact and conclusions of law and

shall take immediate effect upon execution hereof.

               17.     Pursuant to section 363(m) of the Bankruptcy Code, the Successful Bidders

shall be, and hereby are, deemed to have purchased the Pharmacy Assets in good faith. The

transactions contemplated by the Bidder APAs are undertaken by each Successful Bidder in good

faith, as that term is used in section 363(m) of the Bankruptcy Code, and accordingly, each




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Successful Bidder is entitled to all of the benefits and protections afforded by section 363(m) of

the Bankruptcy Code and the reversal or modification on appeal of the authorization provided

herein of any Transaction shall neither affect the validity of such Transaction nor the transfer of

the Pharmacy Assets to the Successful Bidders (or their Affiliates), free and clear of Interests

(including, for the avoidance of doubt, the Interests identified on Exhibit B).

               18.     To the extent any of the deadlines set forth in this Order do not comply with

the Local Rules, such Local Rules are waived and the terms of this Order shall govern.

               19.     Notwithstanding the applicability, or the possible applicability, of

Bankruptcy Rules 4001, 6004(h), 6006(d), 7062, 9014, or otherwise, this Court, for good cause

shown, orders that the terms and conditions of this Order shall not be stayed in any respect and

shall be immediately effective and enforceable upon its entry. This Order constitutes a final order

upon which the Debtors and the Successful Bidders are entitled to rely.

               20.     The terms and provisions of the Bidder APAs and this Order shall be

binding in all respects upon, or shall inure to the benefit of, the Debtors, their estates and their

creditors (whether known or unknown), the Successful Bidders, and their respective Affiliates,

successors and assigns, and any affected third parties, including all Persons asserting an Interest

in the Pharmacy Assets (collectively, the “Bound Parties”), notwithstanding any subsequent

appointment of any trustee, examiner, receiver, party, entity, or other fiduciary under any chapter

of the Bankruptcy Code or any other law with respect to any of the Bound Parties, and all such

provisions and terms shall likewise be binding on such trustee, examiner, receiver, party, entity,

or other fiduciary, and shall not be subject to rejection or avoidance by the Debtors, their estates,

their creditors, or any trustee, examiner or receiver, party, entity, or other fiduciary. The provisions

of this Order and the terms and provisions of the Bidder APAs, and any actions taken pursuant




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hereto or thereto as of the date of the entry of such Order shall survive the entry of any order that

may be entered confirming or consummating any plan(s) of the Debtors or converting the Debtors’

cases from chapter 11 to chapter 7, and the terms and provisions of the applicable Bidder APA, as

well as the rights and interests granted pursuant to this Order and applicable Bidder APA shall

continue in these or any superseding cases and shall be binding upon the Bound Parties and their

respective successors and permitted assigns, including any trustee, party, entity, or other fiduciary

hereafter appointed as a legal representative of the Debtors under chapter 7 or chapter 11 of the

Bankruptcy Code.

               21.     In the event that there is any conflict or derogation between the terms of this

Order and the terms of (a) any Bidder APA, or (b) any other order of this Court, the terms of this

Order shall control. Nothing contained in any chapter 11 plan hereinafter confirmed in these

chapter 11 cases, or any order confirming such plan, or any other order in these chapter 11 cases

(including any order approving the wind-down or dismissal of these chapter 11 cases or any order

entered after any conversion of these cases to cases under chapter 7 of the Bankruptcy Code) shall

alter, conflict with, or derogate from the provisions of the Bidder APAs or the terms of this Order.

This Order shall survive any dismissal of any of these chapter 11 cases.

               22.     The Bidder APAs, and any related agreements, documents or other

instruments, may be modified, amended or supplemented by the parties thereto, in a writing signed

by each party, and in accordance with the terms thereof, without further order of the Court;

provided that any such modification, amendment or supplement does not materially change the

terms of the Bidder APAs or any related agreements, documents, or other instruments.

               23.     Notwithstanding anything to the contrary in this Order, the Bidder APAs or

any related agreements, documents, or other instruments, or otherwise, (a) following the closing




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date of any Transaction, on the date the proceeds or any portion thereof are received by the

Debtors, the Debtors shall pay such proceeds of the Pharmacy Assets from the closing of such

Transaction to Wells Fargo Bank, N.A. as the administrative agent and collateral agent under the

Loan Agreement (as defined in the DIP Orders) for application and payment of all obligations

owing by the Debtors to Agent and the Lenders (as defined in the DIP Orders), in accordance with

the DIP Orders and Section 6.4 of the Loan Agreement, until such time as all such obligations have

been fully repaid and satisfied in full in accordance with the terms and conditions of the DIP Orders

and the Loan Agreement; and (b) to the extent of any conflict between (i) the terms of this Order,

the Bidder APAs or any related agreements, documents, or other instruments and (ii) the terms of

the DIP Orders, the terms of the DIP Orders shall control; provided, however, that the Agent for

the Lenders has provided written consent for the disposition of the Pharmacy Assets to the

Successful Bidders (or, in the event of a default of by one or more Successful Bidders to one or

more Backup Bidders) in accordance with this Order.

               24.     Notwithstanding anything herein to the contrary, McKesson’s rights to

assert reclamation rights, marshalling rights, or a superpriority claim under section 507(b) of the

Bankruptcy Code are preserved to the extent forth in the Stipulation and Settlement Agreement

between Debtors and McKesson Corporation Inc. approved pursuant to the Court’s order granting

Debtors’ Motion for Approval of a Settlement with McKesson Corporation Inc. Pursuant to

Federal Rule of Bankruptcy Procedure 9019.

               25.     This Court shall retain jurisdiction (to the greatest extent allowed by

applicable law) with respect to all matters arising from or related to the implementation,

interpretation, or enforcement of this Order, the Bidder APAs, all amendments thereto, and any

waivers and consents thereunder (and of each of the agreements executed in connection therewith),




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to adjudicate disputes related to this Order or the Bidder APAs (and such other related agreements,

documents or other instruments) and to enforce the injunctions set forth herein.


 Omaha, Nebraska
 Dated: January 29, 2019                          /s/Thomas L. Saladino
                                                  UNITED STATES BANKRUPTCY JUDGE




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                                       Exhibit A

                                   Purchase Schedule

      Pharmacy Assets
        (Store Number
         and Location)             Successful Bidder            Agreement Type
      62 Great Falls, MT               Albertsons           Asset Purchase Agreement
      68 Idaho Falls, ID               Albertsons           Asset Purchase Agreement
        529 Dillon, MT                 Albertsons           Asset Purchase Agreement
       556 Prosser, WA                 Albertsons           Asset Purchase Agreement
      758 Douglas, WY                  Albertsons           Asset Purchase Agreement
     773 Lewistown, MT                 Albertsons           Asset Purchase Agreement
     774 Livingston, MT                Albertsons           Asset Purchase Agreement
        526 Afton, WY            Broulim Supermarkets       Asset Purchase Agreement
     748 Pipestone, MN               Coborn's Inc.          Asset Purchase Agreement
         5 De Pere, WI                   CVS                Asset Purchase Agreement
       20 La Crosse, WI                  CVS                Asset Purchase Agreement
      24 Eau Claire, WI                  CVS                Asset Purchase Agreement
        32 Monona, WI                    CVS                Asset Purchase Agreement
       99 Onalaska, WI                   CVS                Asset Purchase Agreement
       112 Helena, MT                    CVS                Asset Purchase Agreement
     140 Jacksonville, IL                CVS                Asset Purchase Agreement
     177 Green Bay, WI                   CVS                Asset Purchase Agreement
       501 De Pere, WI                   CVS                Asset Purchase Agreement
     502 Green Bay, WI                   CVS                Asset Purchase Agreement
    613 Winneconne, WI                   CVS                Asset Purchase Agreement
       630 Arcadia, WI                   CVS                Asset Purchase Agreement
        735 Aitkin, MN                   CVS                Asset Purchase Agreement
    698 Gothenburg, NE       Gothenburg Discount Pharmacy   Asset Purchase Agreement
       683 Audubon, IA            GRX Holdings, LLC         Asset Purchase Agreement
       671 Waukon, IA            Hartig Drug Company        Asset Purchase Agreement
  742 East Grand Forks, MN    Hugo’s Family Marketplace     Asset Purchase Agreement
    201 Emmetsburg, IA                  Hy-Vee              Asset Purchase Agreement
     611 Saint Peter, MN                Hy-Vee              Asset Purchase Agreement
     661 West Point, NE                 Hy-Vee              Asset Purchase Agreement
        679 Toledo, IA                  Hy-Vee              Asset Purchase Agreement
     689 Mount Ayr, IA                  Hy-Vee              Asset Purchase Agreement
     791 Forest City, IA                Hy-Vee              Asset Purchase Agreement
       49 Aberdeen, SD               Kessler's Inc.         Asset Purchase Agreement
      704 Falls City, NE        Kex Rx Falls City, LLC      Asset Purchase Agreement
     92 Kennewick, WA                   Kroger              Asset Purchase Agreement
        22 Mitchell, SD               Lewis Drug            Asset Purchase Agreement
      681 Ida Grove, IA               Lewis Drug            Asset Purchase Agreement
       746 Madison, SD                Lewis Drug            Asset Purchase Agreement
      747 Luverne, MN                 Lewis Drug            Asset Purchase Agreement
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       Pharmacy Assets
         (Store Number
          and Location)         Successful Bidder           Agreement Type
     749 Saint James, MN           Lewis Drug           Asset Purchase Agreement
        751 Sisseton, SD           Lewis Drug           Asset Purchase Agreement
        744 Roseau, MN        Mattson Pharmacy, Inc.    Asset Purchase Agreement
        561 Cokato, MN        NuDak Ventures, LLC       Asset Purchase Agreement
      627 Neillsville, WI         Prohaska Bros         Asset Purchase Agreement
       633 Park Falls, WI         Prohaska Bros         Asset Purchase Agreement
          205 Delta, UT         Quality Pharmacy        Asset Purchase Agreement
        66 Spokane, WA               Rite Aid           Asset Purchase Agreement
     69 Coeur d'Alene, ID            Rite Aid           Asset Purchase Agreement
         72 Lewiston, ID             Rite Aid           Asset Purchase Agreement
      73 Union Gap, WA               Rite Aid           Asset Purchase Agreement
     122 Wenatchee, WA               Rite Aid           Asset Purchase Agreement
        659 Auburn, NE      U-Save Pharmacy of Auburn   Asset Purchase Agreement
    668 New Hampton, IA          Vogt Pharmacies        Asset Purchase Agreement
      673 Ainsworth, NE          Vogt Pharmacies        Asset Purchase Agreement
       690 Holdrege, NE          Vogt Pharmacies        Asset Purchase Agreement
        692 Superior, NE         Vogt Pharmacies        Asset Purchase Agreement
     695 Broken Bow, NE          Vogt Pharmacies        Asset Purchase Agreement
        7 La Crosse, WI             Walgreens           Asset Purchase Agreement
       10 Marquette, MI             Walgreens           Asset Purchase Agreement
        11 Kingsford, MI            Walgreens           Asset Purchase Agreement
      14 Beaver Dam, WI             Walgreens           Asset Purchase Agreement
        16 Escanaba, MI             Walgreens           Asset Purchase Agreement
      17 Saint Cloud, MN            Walgreens           Asset Purchase Agreement
      23 Hutchinson, MN             Walgreens           Asset Purchase Agreement
   37 Chippewa Falls, WI            Walgreens           Asset Purchase Agreement
     51 Fort Atkinson, WI           Walgreens           Asset Purchase Agreement
        63 Chubbuck, ID             Walgreens           Asset Purchase Agreement
       67 Twin Falls, ID            Walgreens           Asset Purchase Agreement
   70 Spokane Valley, WA            Walgreens           Asset Purchase Agreement
        75 Missoula, MT             Walgreens           Asset Purchase Agreement
       78 Rapid City, SD            Walgreens           Asset Purchase Agreement
          88 Layton, UT             Walgreens           Asset Purchase Agreement
     89 Walla Walla, WA             Walgreens           Asset Purchase Agreement
        96 Redding, CA              Walgreens           Asset Purchase Agreement
         98 Eugene, OR              Walgreens           Asset Purchase Agreement
       102 Marinette, WI            Walgreens           Asset Purchase Agreement
        106 Billings, MT            Walgreens           Asset Purchase Agreement
       109 Riverdale, UT            Walgreens           Asset Purchase Agreement
         111 Salem, OR              Walgreens           Asset Purchase Agreement
        114 Duluth, MN              Walgreens           Asset Purchase Agreement
          119 Dixon, IL             Walgreens           Asset Purchase Agreement
        120 Monroe, WI              Walgreens           Asset Purchase Agreement
       123 Houghton, MI             Walgreens           Asset Purchase Agreement
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     Pharmacy Assets
       (Store Number
        and Location)           Successful Bidder             Agreement Type
      127 Delavan, WI               Walgreens             Asset Purchase Agreement
    130 River Falls, WI             Walgreens             Asset Purchase Agreement
     132 Rice Lake, WI              Walgreens             Asset Purchase Agreement
      133 Belvidere, IL             Walgreens             Asset Purchase Agreement
    170 Rhinelander, WI             Walgreens             Asset Purchase Agreement
   179 North Branch, MN             Walgreens             Asset Purchase Agreement
     215 Shawano, WI                Walgreens             Asset Purchase Agreement
  503 Port Washington, WI           Walgreens             Asset Purchase Agreement
     510 Waupaca, WI                Walgreens             Asset Purchase Agreement
     512 Ellsworth, WI              Walgreens             Asset Purchase Agreement
    604 Abbotsford, WI              Walgreens             Asset Purchase Agreement
      606 Calumet, MI               Walgreens             Asset Purchase Agreement
      608 Brillion, WI              Walgreens             Asset Purchase Agreement
         609 Kiel, WI               Walgreens             Asset Purchase Agreement
     616 Sister Bay, WI             Walgreens             Asset Purchase Agreement
     617 Wautoma, WI                Walgreens             Asset Purchase Agreement
       619 Adams, WI                Walgreens             Asset Purchase Agreement
       624 L’Anse, MI               Walgreens             Asset Purchase Agreement
     626 Lancaster, WI              Walgreens             Asset Purchase Agreement
      635 Savanna, IL               Walgreens             Asset Purchase Agreement
       640 Tuscola, IL              Walgreens             Asset Purchase Agreement
     687 Greenfield, IA         Walgreens (Scripts),      Asset Purchase Agreement
                            Vogt Pharmacies (Inventory)
  688 Missouri Valley, IA           Walgreens             Asset Purchase Agreement
     710 Gallatin, MO               Walgreens             Asset Purchase Agreement
     732 Glencoe, MN                Walgreens             Asset Purchase Agreement
    739 Glenwood, MN                Walgreens             Asset Purchase Agreement
    752 Torrington, WY              Walgreens             Asset Purchase Agreement
    753 Hot Springs, SD             Walgreens             Asset Purchase Agreement
   757 Belle Fourche, SD            Walgreens             Asset Purchase Agreement
      759 Sturgis, SD               Walgreens             Asset Purchase Agreement
   760 Green River, WY              Walgreens             Asset Purchase Agreement
  765 Mountain View, WY             Walgreens             Asset Purchase Agreement
     789 Waupaca, WI                Walgreens             Asset Purchase Agreement
      790 Stanley, WI           Walgreens (Scripts),      Asset Purchase Agreement
                             Prohaska Bros (Inventory)
     793 Mayville, WI               Walgreens             Asset Purchase Agreement
     794 Quincy, WA                 Walgreens             Asset Purchase Agreement
    799 Tremonton, UT               Walgreens             Asset Purchase Agreement
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                                            Exhibit B

                                         Listed Interests


                    Party                                            Interest
 Lenders party to the Credit Agreement              Any security interest in, a lien upon, or a
                                                     right of set off against the Pharmacy Assets
                                                     pursuant to, and as described more fully in,
                                                     that certain Third Amended and Restated
                                                     Loan and Security Agreement, dated as of
                                                     February 7, 2012 (as amended, including
                                                     by that certain Ratification and
                                                     Amendment Agreement, dated as of
                                                     January      16,     2019,     the   “Credit
                                                     Agreement”).

 McKesson Corporation                               Alleged reclamation claim in certain
                                                     Pharmacy Assets, delivered by McKesson
                                                     Corporation pursuant to state law, 11
                                                     U.S.C. § 546(c) and/or the State of
                                                     Wisconsin, Circuit Court proceeding
                                                     McKesson Corporation v. Shopko Stores
                                                     Operating Co., LLC, Case No. 2019-CV-
                                                     000033. (Note: The Debtors contest any
                                                     and all purported rights, claims, or interests
                                                     of McKesson Corporation in the Pharmacy
                                                     Assets.)
